




02-12-434, 435-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00434-CR

&nbsp;

&nbsp;


 
  
  Tiffney
  Lynne McAdoo
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From the 372nd District
  Court
  &nbsp;
  of
  Tarrant County (1247940R)
  &nbsp;
  December
  13, 2012
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that the
appeal should be dismissed.&nbsp; It is ordered that the appeal is dismissed for
want of jurisdiction.

&nbsp;

SECOND DISTRICT COURT OF APPEALS

&nbsp;

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. &nbsp;02-12-00434-CR

NO.&nbsp; 02-12-00435-CR

&nbsp;

&nbsp;


 
  
  TIFFNEY LYNNE MCADOO
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM THE 372ND District Court OF
Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

Appellant
Tiffney Lynne McAdoo attempts to appeal following her pleas of guilty to theft of
property valued between $1,500 and $20,000 from an elderly individual and to
making a false statement to obtain property or credit.&nbsp; See Tex. Penal
Code Ann. § 31.03(e)(4), (f) (West Supp. 2012); id. § 32.32 (West 2011).&nbsp;
Following the plea agreements, the trial court sentenced Appellant to five
years’ incarceration in each case but suspended her sentence, ordering that
Appellant be placed on community supervision for five years and that Appellant
make restitution.

The
trial court’s certifications of Appellant’s right to appeal state in each case that
this “is a plea-bargain case, and the defendant has NO right of appeal.” &nbsp;See
Tex. R. App. P. 25.2(a)(2). &nbsp;On September 17, 2012, we notified Appellant that
these appeals could be dismissed unless she or any party desiring to continue
the appeals filed a response showing grounds for continuing the appeals. &nbsp;We
have to date not received any response.

The
Texas Rules of Appellate Procedure are clear that in a plea-bargain case, an
appellant may appeal only those matters that were raised by written motion
filed and ruled on before trial or after getting the trial court’s permission
to appeal. &nbsp;See Tex. R. App. P. 25.2(a)(2). &nbsp;Because the trial court’s
certifications reflect that Appellant has no right of appeal, we dismiss these
appeals for want of jurisdiction. &nbsp;See Tex. R. App. P. 25.2(a)(2), (d),
43.2(f).

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
GARDNER,
WALKER, and MCCOY, JJ.

&nbsp;

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; December 13,
2012









[1]See Tex. R. App. P. 47.4.







